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From:            Solomon, Clayton (CRM)
To:              Nelson Boxer
Cc:              Robell, Jonathan (CRM); McGarry, Michael (USACT); McGuire, Allison (CRM); Chanel Thomas; David Hoffman;
                 Ettinger, Derek (CRM)
Subject:         RE: US v. Oztemel - proposed scheduling order & July 26, 2023 hearing
Date:            Thursday, July 13, 2023 2:33:07 PM


Nelson,

Thank you for your email earlier today with edits to the proposed schedule. We think it makes sense
to have a call Monday to discuss your questions on the schedule, so please let us know a few
convenient times that work for you and your colleagues.

Regarding your email below, we continue to think a hearing is not necessary and in that regard,
reiterate that we are aware of and are in compliance with the government’s obligations under Brady
v. Maryland, 373 U.S. 83 (1963) and Giglio v. United States, 405 U.S. 150 (1972), which are
summarized in United States v. Coppa, 267 F.3d 132 (2d Cir. 2005). We disagree with your claim that
we are in violation of the Standing Discovery Order.

Clayton



From: Nelson Boxer <nboxer@pkbllp.com>
Sent: Wednesday, July 12, 2023 5:42 PM
To: Solomon, Clayton (CRM) <Clayton.Solomon@usdoj.gov>
Cc: Robell, Jonathan (CRM) <Jonathan.Robell@usdoj.gov>; McGarry, Michael (USACT)
<MMcGarry@usa.doj.gov>; McGuire, Allison (CRM) <Allison.McGuire@usdoj.gov>; Chanel Thomas
<cthomas@pkbllp.com>; David Hoffman <DHoffman@pkbllp.com>; Ettinger, Derek (CRM)
<Derek.Ettinger@usdoj.gov>
Subject: [EXTERNAL] RE: US v. Oztemel - proposed scheduling order & July 26, 2023 hearing

Clayton,

As far as the need for the July 26 court hearing, please confirm in writing that the government
agrees that its Brady disclosure obligations apply for: any evidence that is favorable to Mr.
Oztemel—i.e., when it tends to exculpate him or is useful to impeach the credibility of a
government witness; and there is any reasonable likelihood that that evidence could change
the outcome of the proceedings. We continue to see Brady material in your disclosures to us,
the timing of which has been in breach of the Court’s Standing Discovery Order (14 days from
arraignment).

We’ll review your proposed deadlines and will let you know if we need a call.

Best,

Nelson
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Nelson A. Boxer
Petrillo Klein & Boxer LLP
655 Third Avenue
22nd Floor
New York, New York 10017
nboxer@pkbllp.com
p  212.370.0338
c  917.273.2693

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immediately and destroy the original message and all copies. Thank you.


From: Solomon, Clayton (CRM) <Clayton.Solomon@usdoj.gov>
Sent: Wednesday, July 12, 2023 4:50 PM
To: Nelson Boxer <nboxer@pkbllp.com>
Cc: Robell, Jonathan (CRM) <Jonathan.Robell@usdoj.gov>; McGarry, Michael (USACT)
<Michael.McGarry@usdoj.gov>; McGuire, Allison (CRM) <Allison.McGuire@usdoj.gov>; Chanel
Thomas <cthomas@pkbllp.com>; David Hoffman <DHoffman@pkbllp.com>; Ettinger, Derek (CRM)
<Derek.Ettinger@usdoj.gov>
Subject: US v. Oztemel - proposed scheduling order & July 26, 2023 hearing

Nelson,

As discussed last week, we are recirculating a draft proposed scheduling order. As you’ll see, we’ve
included the deadlines established in the Court’s 5/10/23 Scheduling Order (below) and have added
in several additional proposed deadlines based on that schedule. Please let us know if you’d like to
jump on a call tomorrow to discuss.   We’d like to file this by Friday if we can.

Also, as discussed and as we said at the hearing, we agree on the appropriate standard for
materiality under Brady and in the Second Circuit, and we will continue to comply with our
obligations in that regard. We would like to inform the Court that the hearing scheduled for July 26,
2023 is not necessary. Please let us know if you agree; if so, we will advise the Court.

Thank you,

Clayton


  05/10/2023             40    SCHEDULING ORDER as to Glenn Oztemel. For the reasons discussed
                               during the Zoom status conference on May 10, 2023, the Court continues
                               jury selection to January 3, 2024 with trial to commence following
                               selection. Substantive motions by the Defendant shall be filed on or before
                               October 16, 2023; Government response to substantive motions is due by
                               October 30, 2023.The parties' trial memoranda, motions in limine,
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            proposed voir dire, and proposed jury instructions are due by December 1,
            2023. Responses to motions in limine are due by December 11, 2023. A
            trial Management Conference shall be held on January 2, 2024 at
            10:00am. Hearings on motions in limine or substantive motions shall be
            scheduled as may be necessary in advance of jury selection. The Court
            continues jury selection on the basis of the representations of counsel
            regarding the voluminous and ongoing nature of the discovery which
            includes ongoing efforts to secure material through the MLAT process, the
            complex nature of the charges and the time that will be needed for counsel
            and the defendant to review and assess the discovery. Accordingly, for
            Speedy Trial Act purposes, the Court hereby excludes pursuant to 18
            U.S.C. § 3161(h)(7)(A) the time from the date of October 3, 2023 to
            January 3, 2024. The Court concludes that the ends of justice served by
            taking such action outweigh the best interest of the public and the
            defendant in an earlier trial date, and the Court has considered each of the
            factors set forth in 18 U.S.C. § 3161(h)(7)(B). A Zoom Status Conference
            is set for August 10, 2023 at 2:00 PM. A separate calendar and Zoom
            instructions shall enter.
            Signed by Judge Kari A. Dooley on 5/10/2023. (Gould, K.) (Entered:
            05/10/2023)
